
15 Mich. App. 543 (1969)
166 N.W.2d 821
SHACKET
v.
TOWNSHIP OF HIGHLAND
Docket No. 5,089.
Michigan Court of Appeals.
Decided January 29, 1969.
Rehearing granted April 1, 1969.
Harry H. Mead, for plaintiff.
Dudley &amp; Patterson, for defendants.
*544 PER CURIAM:
Defendant appeals from the trial court's grant to plaintiff of a writ of mandamus requiring defendant to issue a building permit to plaintiff for development and construction of a mobile home park on plaintiff's land. The writ was granted peremptorily without the taking of testimony on the basis that as a matter of law the ordinance of defendant barred trailer parks completely from defendant township and was invalid on its face.
This ruling was erroneous. West Bloomfield Township v. Chapman (1958), 351 Mich 606; June v. City of Lincoln Park (1960), 361 Mich 95. The ordinance prohibition of trailer parks from defendant township may or may not be valid, depending on whether such a prohibition, as it relates to plaintiff's land, is reasonable or unreasonable. This determination is impossible without evidence.
Reversed and remanded for trial, without costs.
QUINN, P.J., and McGREGOR and V.J. BRENNAN, JJ., concurred.
